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Preregistration Questions

Have Federal Employer Identification Number: Yes
Have Sales and Use Tax License: No
Have Employer Withholding Account: No

Have you filed your Articles of Incorporation, Articles of Organization, Partnership or Business Name
Registration: No

Have Unemployment Insurance Employer Identification Account: No
Have Streamlined Sales Tax (SST) Number: No

Business involves motor vehicle dealerships or vehicle sales, body shops, transporting, dismantling,
manufacturing, distributing or crushing vehicles: No

Declared Entity Type

Entity Type:Limited Liability Company (LLC)
Entity Subtype:Domestic (in Utah)
This LLC will be managed by:Member
This LLC will file with the IRS as a:Single Member/Manager
The Single Member is a:individual

Business Name

The business name you chose to register is:insurgence USA LLC

Primary Physical Business Address - Business Headquarters

Utah Business Name:Insurgence USA LLC

adcress I i

Address 2:apt ij

City, State, Zip. UT
Business Phone} 4-1}

Fax:

> Please select from the list below, the basic nature/purpose of your business:
81 Other Services (except Public Administration)
> Please select from the list below a more detailed nature/purpose of your business:
813 Religious, Grantmaking, Civic, Professional, and Similar Organizations
> Please select from the list below a more detailed nature/purpose of your business:
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81394 Political Organizations
> In the box below, please describe, in detail, the purpose or nature of your business:

We are a political organization that supports the local
community through peaceful protests and events.

> What is the date you will start or did start doing business? July 03, 2020
> What is the closing month of this business’ accounting year? December

> Will you use, treat, store, sell, emit, manufacture, or dispose of any chemical, No
combustible, or hazardous materials? Also, answer yes to this question if you

are a dry cleaning business, or if you are going to have x-ray equipment in any

of your offices.

> Do you currently have or will you have employees performing services for this No
business in Utah? Employees include anyone you pay for services including
officers of a corporation or members of an LLC electing to file with the IRS

as a corporation. lf so, choose Yes to apply for an Unemployment Insurance
account.

> Do you need a Utah income tax withholding account? If you don't currently No
have one and are going to pay Utah wages to employees working for this
business, you must choose Yes. If you are not going to have employees or if

you already have a withholding account, choose No.

> Will you sell, lease, rent or repair any kind of tangible personal property or No
physical product? If selecting "No", a sales tax license will not be issued.

> Have you ever owned, operated, or been part of any business in the state of No
Utah in the position of owner, officer, director, incorporator, manager, member,
partner, or registered agent?

Business Addresses and Locations

This is a list of your business locations and mailing addresses.

Physical Business Locations

Address City, State, Zip County Address Type
213 civic center drive Sandy, UT 84070 Salt Lake Headquarters
213 civic centerdrive Sandy, UT 84070 Salt Lake Primary Utah Location

Primary Utah Location

Address Line 1:213 civic center drive
Address Line 2:apt 169
City, State, Zip:Sandy, UT 84070
County:Salt Lake
Business Phone:801-386-1049

Fax:
